                                                                Case 2:20-bk-21022-BR       Doc 678 Filed 09/13/21 Entered 09/13/21 15:12:58                Desc
                                                                                              Main Document Page 1 of 1



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                                                                    Chapter 7 Trustee
                                                                  8

                                                                  9                            UNITED STATES BANKRUPTCY COURT

                                                                 10                             CENTRAL DISTRICT OF CALIFORNIA

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                                                                 12 In re                                            Case No. 2:20-bk-21022-BR
                               Costa Mesa, California 92626




                                                                 13 GIRARDI KEESE,                                   Chapter 7

                                                                 14                                                  ORDER APPROVING STIPULATION
                                                                                                                     REGARDING DISTRIBUTION OF
                                                                 15                                                  XARELTO SETTLEMENT PAYMENT TO
                                                                                                    Debtor.          CLIENT (G. JACQUART)
                                                                 16
                                                                                                                     [No Hearing Required]
                                                                 17

                                                                 18           Pursuant to the Stipulation Regarding Distribution of Xarelto Settlement Payment

                                                                 19 to Client (G. Jacquart) filed on September 1, 2021, as Docket No. 635 (the "Stipulation"),

                                                                 20 and good cause appearing,

                                                                 21           IT IS ORDERED that the Stipulation is approved in its entirety.

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                                                                 24 Date: September 13, 2021

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                                                                      2882217.1                                     1                                              ORDER
